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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                   )
                                            )
     Plaintiff,                             )
                                            )
                   v.                       ) Civil Action No. 1:04-cv-00798-PLF/GMH
                                            )
                                            )
ALL ASSETS HELD AT BANK JULIUS              )
BAER & COMPANY, LTD., GUERNSEY              )
BRANCH, ACCOUNT NUMBER 121128,              )
IN THE NAME OF PAVLO                        )
LAZARENKO, LAST VALUED AT                   )
APPROXIMATELY $2 MILLION IN                 )
UNITED STATES DOLLARS, ET AL.,              )
                                            )
     Defendants.                            )


                                       NOTICE

     Please note the attached Objections to Magistrate Judge’s Report and Recommendation.



                                        Respectfully submitted,

                                        By: _/s/Emily Beckman____
                                        King Campbell Poretz
                                        108 N. Alfred Street
                                        Alexandria, VA 22314
                                        703-683-7070 (Phone)
                                        703-652-6010 (Fax)

                                        Attorney for Claimants ALEX LAZARENKO,
                                        KATERINA LAZARENKO and LESSIA
                                        LAZARENKO




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 17, 2019, I electronically filed the foregoing document

with the clerk of the court for the U.S. District Court for the District of Columbia, using the

electronic case filing system of the court under seal. The electronic case filing system sent a

“Notice of Electronic Filing” to the attorneys of record who have consented in writing to accept

this Notice as service of this document by electronic means. I also certify that parties not so

noticed have been served in accordance with Fed. R. Civ. P. 5(d).


                                              By:     _/s/Emily Beckman____________
                                                      Emily Beckman




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